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                   IN THE UNITED STATES DISTRICT COURT OF
                       THE MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION


WESTGATE RESORTS, LTD., a Florida limited
partnership, by and through its general partner
WESTGATE RESORTS,              INC.,  a   Florida
corporation, WESTGATE VACATION VILLAS,
LLC, a Florida limited liability company,
WESTGATE LAKES, LLC, a Florida limited
liability company, WESTGATE GV AT THE
WOODS, LLC, a Florida limited liability company,
WESTGATE TOWERS, LLC, a Florida limited
liability company, WESTGATE FLAMINGO BAY,
L.L.C., a Florida limited liability company,
WESTGATE MYRTLE BEACH, LLC, a Florida
limited liability company, WESTGATE PALACE,
LLC, a Florida limited liability company,
WESTGATE VACATION VILLAS OWNERS
ASSOCIATION, INC., a Florida corporation,
WESTGATE LAKES OWNERS ASSOCIATION,
INC., a Florida corporation, WESTGATE TOWERS
OWNERS ASSOCIATION, INC., a Florida
corporation, WESTGATE TOWN CENTER CASE NO.: 6:18-cv-01088-GAP-DCI
OWNERS ASSOCIATION, INC., a Florida
corporation, WESTGATE TOWERS NORTH
OWNERS ASSOCIATION, INC., a Florida
corporation,     WESTGATE       RIVER    RANCH
OWNERS ASSOCIATION, INC., a Florida
corporation, WESTGATE PALACE OWNERS
ASSOCIATION, INC., a Florida corporation,
WESTGATE FLAMINGO BAY, LAS VEGAS
OWNERS ASSOCIATION, INC., a Nevada
corporation,        WESTGATE           HISTORIC
WILLIAMSBURG, OWNERS ASSOCIATION,
INC., a Virginia corporation, WESTGATE PARK
CITY RESORT & SPA, OWNERS ASSOCIATION,
INC., a Utah corporation, WESTGATE MYRTLE
BEACH          OCEAN         FRONT      OWNERS
ASSOCIATION, INC., a South Carolina corporation,
CEDAR         RIDGE       AT     THE     WOODS
CONDOMINIUM OWNERS ASSOCIATION, INC.,
a Missouri corporation, WESTGATE BRANSON
WOODS OWNERS ASSOCIATION, INC., a
Missouri corporation, GRAND VISTA AT
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                                                                  Amended Complaint for Damages and Injunctive Relief

EMERALD POINT CONDOMINIUM OWNER’S
ASSOCIATION, INC., a Missouri corporation,
PAINTED      MOUNTAIN             GOLF     VILLAS
CONDOMINIUM ASSOCIATION, INC., an
Arizona corporation, WESTGATE GV AT
EMERALD POINTE, LLC, a Florida limited liability
company, WESTGATE GV AT PAINTED
MOUNTAIN, LLC, a Florida limited liability
company, and WESTGATE LAS VEGAS RESORT,
LLC, a Delaware limited liability company,

                      Plaintiffs,
vs.

REED HEIN & ASSOCIATES, LLC d/b/a
TIMESHARE    EXIT  TEAM,     SCHROETER
GOLDMARK & BENDER, P.S., JAMES D.
HAILEY, THOMAS JAMES BREEN, KEN B.
PRIVETT PLC, KEN B. PRIVETT, BRANDON
REED,   TREVOR    HEIN   and    THOMAS
PARENTEAU,

                       Defendants.
                                                                 /

                       COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

                Plaintiffs, WESTGATE RESORTS, LTD., a Florida limited partnership, by and through

      its general partner WESTGATE RESORTS, INC., a Florida corporation, WESTGATE

      VACATION VILLAS, LLC, a Florida limited liability company, WESTGATE LAKES, LLC, a

      Florida limited liability company, WESTGATE GV AT THE WOODS, LLC, a Florida limited

      liability company, WESTGATE TOWERS, LLC, a Florida limited liability company,

      WESTGATE FLAMINGO BAY, L.L.C., a Florida limited liability company, WESTGATE

      MYRTLE BEACH, LLC, a Florida limited liability company, WESTGATE PALACE, LLC, a

      Florida     limited   liability       company,      WESTGATE            VACATION           VILLAS         OWNERS

      ASSOCIATION,          INC.,       a     Florida      corporation,       WESTGATE            LAKES         OWNERS

      ASSOCIATION,          INC.,       a    Florida     corporation,       WESTGATE            TOWERS          OWNERS



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ASSOCIATION, INC., a Florida corporation, WESTGATE TOWN CENTER OWNERS

ASSOCIATION, INC., a Florida corporation, WESTGATE TOWERS NORTH OWNERS

ASSOCIATION, INC., a Florida corporation, WESTGATE RIVER RANCH OWNERS

ASSOCIATION,       INC.,   a   Florida        corporation,     WESTGATE           PALACE          OWNERS

ASSOCIATION, INC., a Florida corporation, WESTGATE FLAMINGO BAY, LAS VEGAS

OWNERS      ASSOCIATION,        INC.,     a     Nevada       corporation,    WESTGATE           HISTORIC

WILLIAMSBURG, OWNERS ASSOCIATION, INC., a Virginia corporation, WESTGATE

PARK CITY RESORT & SPA, OWNERS ASSOCIATION, INC., a Utah corporation,

WESTGATE MYRTLE BEACH OCEAN FRONT OWNERS ASSOCIATION, INC., a South

Carolina corporation, CEDAR RIDGE AT THE WOODS CONDOMINIUM OWNERS

ASSOCIATION, INC., a Missouri corporation, WESTGATE BRANSON WOODS OWNERS

ASSOCIATION, INC., a        Missouri corporation, GRAND VISTA AT EMERALD POINT

CONDOMINIUM OWNER’S ASSOCIATION, INC., a Missouri corporation, PAINTED

MOUNTAIN GOLF VILLAS CONDOMINIUM ASSOCIATION, INC., an Arizona

corporation. WESTGATE GV AT EMERALD POINTE, LLC, a Florida limited liability

company, WESTGATE GV AT PAINTED MOUNTAIN, LLC, a Florida limited liability

company, and WESTGATE LAS VEGAS RESORT, LLC, a Delaware limited liability company

(collectively, “Westgate” or “Plaintiffs”), file this Complaint against Defendants, REED HEIN &

ASSOCIATES, LLC d/b/a TIMESHARE EXIT TEAM, a Washington corporation,

SCHROETER GOLDMARK & BENDER, P.S., a Washington professional services corporation,

JAMES D. HAILEY, an individual, THOMAS JAMES BREEN, an individual, KEN B.

PRIVETT PLC, a Oklahoma professional limited liability company, KEN B. PRIVETT, an




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individual, BRANDON REED, an individual, TREVOR HEIN, an individual, and THOMAS

PARENTEAU, an individual, and state:

                                       INTRODUCTION

       1.      Timeshares are a popular option for vacationers throughout the world. In 2016,

Florida led the United States in timeshare resorts, comprising 24 percent of the national total of

1,547 resorts.1 It should come as no surprise, then, that Florida timeshare companies are often

the main targets of schemes by so-called “consumer protection” firms whose business models

profit from taking exorbitant up-front fees for disrupting the valid legal contracts between resorts

and their owners. One such target is Westgate.

       2.      Westgate is in the business of developing, financing, and managing timeshare

resort properties throughout the United States, including in Florida. Westgate is the world’s

largest privately-held timeshare company and one of the largest resort developers in the United

States. Westgate has twenty-seven timeshare resorts located in a variety of high-destination

tourism markets and is supported by some 6,000 employees. Westgate also offers financing to

purchasers of Westgate timeshare interests and is the holder of promissory notes and mortgages

extended to owners.

       3.      Defendants Brandon Reed (“Reed”), Trevor Hein (“Hein”), and Thomas

Parenteau (“Parenteau”) control and dominate Defendant Reed Hein & Associates LLC d/b/a

Timeshare Exit Team (“TET”) and serve as driving, integral figures in TET’s scheme described

herein. Through TET’s promises on its websites and myriad paid celebrity endorsements from

the likes of Glenn Beck, Steve Harvey, and Dave Ramsey, Reed, Hein, and Parenteau make false



1
   VacationBetter.org, Timeshare Industry Shows Another Year of Substantial Growth,
http://vacationbetter.org/timeshare-industry-shows-another-year-of-substantial-growth/
(Accessed April 5, 2018).


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and misleading promises purporting to operate a “consumer protection group” offering a “100%

guarantee” to relieve timeshare owners of their obligations, including owners of Westgate

timeshare interests. If TET is unsuccessful in cancelling an owners’ timeshare interest, TET

promises to return their money.

          4.   However, TET – which is not a law firm – is not providing redress to owners in

situations in which a timeshare company, resort, or developer such as Westgate has done

something illegal. Rather, TET simply redirects to TET the money the owners would otherwise

pay for their annual maintenance, taxes, or mortgage payments to their timeshare company,

resort, or developer.

          5.   TET representatives have publicly stated that the company’s business plan is to

“break” contracts between timeshare developers such as Westgate and the individual timeshare

owners.

          6.   To accomplish TET’s goal to “break” those contracts, TET’s representatives,

without any cognizable factual or legal basis for doing so, instruct owners to stop making their

required payments to their timeshare companies. TET’s representatives know that by giving

owners this advice, owners will breach their valid and enforceable agreements with their

timeshare company, resort, or developer. Identifiable owners of Westgate timeshare interests

have followed this very advice from TET’s representatives and Westgate has been damaged as a

result.

          7.   The instructions from TET’s representatives are then furthered by the attorneys

retained by TET: Defendants Schroeter Goldmark & Bender, P.S. (“SGB Law”) and Ken B.

Privett PLC (“Privett Law”). In fact, the owners never meet the attorneys at these firms working

for TET, including Defendants James D. Hailey (“Hailey”) and Thomas James Breen (“Breen”)




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of SGB Law or Defendant Ken B. Privett (“Privett”). TET deliberately conceals the identity of

these attorneys from its customers to ensure they can only obtain information about the status of

their purported timeshare “exit” from TET. Moreover, TET deliberately misleads customers into

thinking that TET is a law firm by selective use of the moniker “Hein, Reed, & Associates,” and

falsely conveys to customers that it employs attorneys by referring to outside attorneys it claims

to contract with as “our attorneys.”

       8.      These TET-retained attorneys send boilerplate demand letters to the owners’

timeshare companies instructing them to cease communicating with TET’s purported “clients”

and stating that TET’s “clients” wish to terminate their timeshare agreements. These demand

letters, which are generic and not personalized to the situation of any owner, are sent to Westgate

in connection with identifiable owners of Westgate timeshare interests. Likewise, TET instructs

its customers not to communicate with their timeshare companies, again to deliberately prevent

them from obtaining information about the status of their timeshare and their purported “exit”

from any source other than TET.

       9.      Thus, owners are hamstrung both by TET’s directions not to make their payments

or to communicate with Westgate, and by SGB Law and Privett’s furtherance of TET’s

instructions by sending demand letters signed by Hailey and Breen or Privett instructing

Westgate not to contact its own customers. TET’s “100% guarantee” to refund the owners’ paid

fee if TET fails to “exit” the owners from their timeshares is rendered worthless because

Westgate owners have been lured into breaching their valid contracts with Westgate, subjecting

them to a forced “exit” of their timeshares through foreclosure and/or liability for breach of

contracts exceeding the value of their fees paid to TET. In the end, only TET and the attorneys it

hires profit, after providing no actual services, and Westgate is damaged.




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                                                   PARTIES

A.      The Developer Plaintiffs

        10.      WESTGATE RESORTS, LTD., is a Florida limited partnership with its principal

place of business located in Orlando, Florida. Its general partner, Westgate Resorts, Inc., is a

Florida corporation with its principal place of business located in Orlando, Florida. Its limited

partners are Central Florida Investment, Inc., a Florida corporation with its principal place of

business located in Orlando, Florida, and the David A. Siegel Irrevocable Trust dated April 19,

2010, a Florida irrevocable trust. The trustees are Michael Marder and David A. Siegel, both are

individuals domiciled in Orlando, Florida, and are citizens of Florida. The beneficiaries of the

Siegel Irrevocable Trust are all citizens of the state of Florida.2

        11.      WESTGATE VACATION VILLAS, L.L.C., is a Florida limited liability

company with its principal place of business located in Orlando, Florida, and its sole member is

Westgate Resorts, Ltd.

        12.      WESTGATE LAKES, L.L.C., is a Florida limited liability company with its

principal place of business located in Orlando, Florida, and its sole member is Westgate Resorts,

Ltd.

        13.      WESTGATE GV AT THE WOODS, L.L.C., is a Florida limited liability

company with its principal place of business located in Orlando, Florida, and its sole member is

Westgate Resorts, Ltd.




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 The identities of the beneficiaries of the David A. Siegel Irrevocable Trust are confidential. Accordingly, in this
Complaint, Plaintiffs have provided the beneficiaries’ citizenship information that is relevant to the jurisdictional
analysis without disclosing the specific names of the individual beneficiaries.



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       14.      WESTGATE TOWERS, L.L.C., is a Florida limited liability company with its

principal place of business located in Orlando, Florida, and its sole member is Westgate Resorts,

Ltd.

       15.      WESTGATE FLAMINGO BAY, L.L.C., is a Florida limited liability company

with its principal place of business located in Orlando, Florida, and its sole member is Westgate

Resorts, Ltd.

       16.      WESTGATE MYRTLE BEACH, L.L.C., is a Florida limited liability company

with its principal place of business located in Orlando, Florida, and its sole member is Westgate

Resorts, Ltd.

       17.      WESTGATE PALACE, L.L.C., is a Florida limited liability company with its

principal place of business located in Orlando, Florida, and its sole member is Westgate Resorts,

Ltd.

       18.      WESTGATE GV AT EMERALD POINTE, LLC, is a Florida limited liability

company, with its principal place of business located in Orlando, Florida, and its sole member is

Westgate Resorts, Ltd.

       19.      WESTGATE GV AT PAINTED MOUNTAIN, LLC, is a Florida limited liability

company, with its principal place of business located in Orlando, Florida, and its sole member is

Westgate Resorts, Ltd.

       20.      WESTGATE LAS VEGAS RESORT, LLC, is a Delaware limited liability

company, with its principal place of business located in Orlando, Florida. Its sole member is

Westgate LVH, LLC, a Florida limited liability company, and Westgate LVH, LLC’s sole

member is Westgate Resorts, Ltd.




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B.     The Association Plaintiffs

       21.     WESTGATE VACATION VILLAS OWNERS ASSOCIATION, INC., is a

Florida corporation with its principal place of business located in Orlando, Florida.

       22.     WESTGATE LAKES OWNERS ASSOCIATION, INC., is a Florida corporation

with its principal place of business located in Orlando, Florida.

       23.     WESTGATE TOWERS OWNERS ASSOCIATION, INC., is a Florida

corporation with its principal place of business located in Orlando, Florida.

       24.     WESTGATE TOWN CENTER OWNERS ASSOCIATION, INC., is a Florida

corporation with its principal place of business located in Orlando, Florida.

       25.     WESTGATE TOWERS NORTH OWNERS ASSOCIATION, INC., is a Florida

corporation with its principal place of business located in Orlando, Florida.

       26.     WESTGATE RIVER RANCH OWNERS ASSOCIATION, INC., is a Florida

corporation with its principal place of business located in Orlando, Florida.

       27.     WESTGATE PALACE OWNERS ASSOCIATION, INC., is a Florida

corporation with its principal place of business located in Orlando, Florida.

       28.     WESTGATE FLAMINGO BAY, LAS VEGAS OWNERS ASSOCIATION,

INC., is a Nevada corporation with its principal place of business located in Orlando, Florida.

       29.     WESTGATE HISTORIC WILLIAMSBURG, OWNERS ASSOCIATION, INC.,

is a Virginia corporation with its principal place of business located in Orlando, Florida.

       30.     WESTGATE PARK CITY RESORT & SPA OWNERS ASSOCIATION, INC.,

is a Utah corporation with its principal place of business located in Orlando, Florida.




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        31.     WESTGATE MYRTLE BEACH OCEAN FRONT OWNERS ASSOCIATION,

 INC., is a South Carolina corporation with its principal place of business located in Orlando,

 Florida.

        32.     CEDAR       RIDGE      AT      THE       WOODS          CONDOMINIUM                OWNERS

 ASSOCIATION, INC., is a Missouri corporation with its principal place of business located in

 Orlando, Florida.

        33.     WESTGATE BRANSON WOODS OWNERS ASSOCIATION, INC., is a

 Missouri corporation with its principal place of business located in Orlando, Florida.

        34.     GRAND VISTA AT EMERALD POINT CONDOMINIUM OWNER’S

 ASSOCIATION, INC., is a Missouri corporation with its principal place of business located in

 Orlando, Florida.

        35.     PAINTED MOUNTAIN GOLF VILLAS CONDOMINIUM ASSOCIATION,

 INC., is an Arizona corporation with its principal offices located in Orlando, Florida.

 C.     The Defendants

        36.     TET is a Washington limited liability company with its principal place of business

 at 3400 188th Street SW, Suite 300, Lynnwood, Washington 98037.

                a.      TET’s Managing Members are Brandon Reed and Trevor Hein.

                b.      Makaymax, Inc., is a 60 percent owner of TET. Makaymax, Inc., is a

                        Washington corporation with its principal place of business at 3400 188th

                        Street SW, Suite 300, Lynnwood, Washington 98037.

                c.      Hein & Sons Industries, Inc., is a 40 percent owner of TET. Hein & Sons

                        Industries, Inc., is a Delaware corporation with its principal place of




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                       business at 3400 188th Street SW, Suite 300, Lynnwood, Washington

                       98037.

               d.      “Timeshare Exit Team” is a registered trade name in Washington for Reed

                       Hein & Associates, LLC, defined and referred to herein as “TET.”

        37.    Defendant Schroeter Goldmark & Bender, P.S. (“SGB Law”) is a Washington

 professional services corporation with its principal place of business at 810 Third Avenue, Suite

 500, Seattle, Washington 98104.

        38.    Defendant James D. Hailey (“Hailey”) is an individual who is licensed to practice

 law in Washington and, upon information and belief, is a citizen of Washington.

        39.    Defendant Thomas James Breen (“Breen”) is an individual who is licensed to

 practice law in Washington and, upon information and belief, is a citizen of Washington.

        40.    Defendant Ken B. Privett PLC (“Privett Law”) is an Oklahoma professional

 limited liability company with its principal place of business at 524 5th Street, Pawnee,

 Oklahoma 74058.

        41.    Defendant Ken B. Privett (“Privett”) is an individual who is licensed to practice

 law in Oklahoma and, upon information and belief, is a citizen of Oklahoma.

        42.    Brandon Reed (“Reed”) is an individual domiciled in Kirkland, King County,

 Washington, and is a citizen of Washington.

        43.    Trevor Hein (Hein”) is an individual domiciled in Surrey, British Columbia,

 Canada, and is a citizen of Canada.

        44.    Defendant Thomas Parenteau (“Parenteau”) is an individual domiciled in Seattle,

 King County, Washington, and is a citizen of Washington.




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                                           JURISDICTION

        45.     This Court has jurisdiction over this dispute by virtue of 28 U.S.C. § 1332 in that

 there is complete diversity of citizenship between Plaintiffs and all Defendants in this matter and

 the amount in controversy, exclusive of interest and costs, exceeds the sum of $75,000.

 Additionally, this Court has subject matter jurisdiction under 28 U.S.C. §1331, as a federal

 question under the Lanham Act, 15 U.S.C. § 1125(a) is presented.

        46.     This Court also has supplemental jurisdiction over Westgate’s state law claims

 under 28 U.S.C. § 1367 because those claims derive from a common nucleus of operative facts

 and are so related to claims in the action within original jurisdiction that they form part of the

 same case or controversy under Article III of the United States Constitution.

        47.     This Court may exercise personal jurisdiction over all Defendants because this

 action arises out of and is related to Defendants’ purposeful contacts with the State of Florida,

 and this Court’s exercise of personal jurisdiction over Defendants would not violate traditional

 notions of fair play and substantial justice.

                                                  TET

        48.     TET (i) solicits owners of timeshare interests, many of whom reside in Florida

 and/or whose timeshare interests are located in Florida, through the use of false, misleading, and

 deceptive advertising, (ii) intentionally interferes with contracts between Westgate and owners of

 Westgate timeshare interests, and (iii) is registered as a foreign limited liability company with

 the Florida Department of State in order to conduct business in the state of Florida.

        49.     TET’s Internet-based operations subject it to personal jurisdiction in the state of

 Florida. TET solicits owners of Florida timeshare interests through the use of false, misleading,

 and deceptive advertising it contains on its websites, http://www.timeshareexitteam.com,




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 www.reedhein.com, and www.321exit.com.                  These websites do not constitute passive

 advertising. TET solicits and receives the contact information of owners of Florida timeshare

 interests through the website, which involves the repeated transmission of computer files over

 the internet and allows owners of Florida timeshare interests to exchange their contact

 information with a host computer.

        50.     TET commits tortious and/or wrongful acts in the state of Florida, specifically,

 tortious interference with contractual relationships between Westgate and owners of Westgate

 timeshare interests and unfair and deceptive acts and practices as further described herein. TET

 instructs owners of Westgate timeshare interests to stop making payments of validly assessed

 maintenance and taxes, and of legitimately owed note and mortgage payments, to Westgate in

 Florida, which damages Westgate.

        51.     TET makes agreements with owners of Westgate timeshare interests, some of

 whom own timeshare interests in Florida. TET is to perform these agreements, in whole or in

 part, in Florida, supposedly negotiating with Westgate to release current and future obligations

 owed to the Plaintiffs. To make the scheme seem legitimate, TET instructs the lawyers it claims

 to retain, Hailey, Breen, and Privett, to mail letters addressed to Westgate in Florida.

                                     Hailey, Breen and SGB Law

        52.     Hailey, Breen, and SGB Law commits tortious acts in the state of Florida by

 conspiring with TET to tortiously interfere with contractual relationships between Westgate and

 owners of Westgate timeshare interests.

        53.     TET retains SGB Law in order to effectuate the promised “exit” through Hailey

 and Breen, often with respect to Westgate Owners (as defined below) who reside in Florida

 and/or own a timeshare interest located in Florida. After TET representatives instruct owners of




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 Westgate timeshare interests to stop making any payments to Westgate, TET instructs SGB Law

 to write and send Westgate boilerplate demand letters to, inter alia, stop communication between

 Westgate and its owners.

        54.    Hailey and Breen prepare, sign, and send SGB Law’s communications directed to

 Westgate in Florida to further the interference between the contractual relationships between

 Westgate and owners of Westgate timeshare interests.

                                     Privett and Privett Law

        55.    Privett and Privett Law commit tortious acts in the state of Florida by conspiring

 with TET to tortiously interfere with contractual relationships between Westgate and owners of

 Westgate timeshare interests.

        56.    TET retains Privett Law in order to effectuate the promised “exit” through Privett,

 often with respect to Westgate Owners (as defined below) who reside in Florida and/or own a

 timeshare interest located in Florida. After TET representatives instruct owners of Westgate

 timeshare interests to stop making any payments to Westgate, TET instructs Privett Law to write

 and send Westgate boilerplate demand letters to, inter alia, stop communication between

 Westgate and its owners.

        57.    Privett prepares, signs, and sends Privett Law’s communications directed to

 Westgate in Florida to further the interference between the contractual relationships between

 Westgate and owners of Westgate timeshare interests.

                                               Reed

        58.    Personal jurisdiction over Reed is proper because Reed, along with Hein and

 Parenteau, directs and controls TET, which they formed and have used for the improper purpose




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 of operating a fraudulent timeshare exit scheme, and because TET is the alter ego of Reed, Hein

 and Parenteau.

         59.      Reed uses TET as a mere instrumentality or business conduit to perpetrate a fraud

 on TET’s customers that results in significant harm to Westgate. Indeed, Reed controls and

 dominates TET to such an extent that it has no independent existence apart from his own (and

 Hein and Parenteau). He instructs his employees to delay and confuse customers about the status

 of their timeshare “exit” to avoid making good on TET’s refund guarantee, 3 while siphoning

 millions of dollars from the company for his own personal pecuniary gain and for extraordinary

 personal expenses.4 Reed uses TET in an attempt to conceal his identity as an orchestrator of a

 fraudulent scheme directed at timeshare companies, including Westgate, such that the corporate

 form of TET must be disregarded and individual liability imposed on Reed in order to prevent

 further losses to Westgate.

         60.      This action arises out of and is related to Reed’s purposeful contacts with the

 State of Florida resulting from TET’s activities that he directed and controlled and as an alter ego

 of TET, including (i) the solicitation of owners of Florida timeshares through the use of false and

 deceptive advertising; (ii) the intentional interference with contracts between Westgate, a Florida

 company, and owners of timeshare interests in Florida; and (iii) making false and misleading

 statements regarding Westgate through TET’s website, directed at Florida residents.

 Specifically, via postings on TET’s websites, TET purposefully directs marketing efforts to, and


 3
     In fact, after one of the TET-retained attorneys inadvertently sent out letters in 2016 to thousands of TET
 customers falsely stating that their timeshare exits had been accomplished, Reed, Hein, and Parenteau elected not to
 tell customers the truth. Instead, and despite objections from TET’s account representatives, Reed, Hein, and
 Parenteau specifically instructed the account coordinators to conceal that information.
 4
   In fact, at least one former employee of TET had expressed concern before being fired that TET was a Ponzi
 scheme because it lacks sufficient funds to cover guaranteed refunds to customers whose timeshare exits could not
 be effectuated due to substantial disbursements to Reed, Hein, and Parenteau. Additionally, Reed and Hein used
 TET funds to set up other businesses, and funneled TET funds to themselves through other entities solely owned
 and/or controlled by them.


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 solicits, Florida residents who own timeshare interests in Westgate (including Westgate Owners

 who reside in Florida). Indeed, through false and deceptive advertisements, TET lures Westgate

 Owners to pay large upfront fees to retain TET and induce the Westgate Owners to breach

 existing contracts with Westgate.       Such false and deceptive advertisements also underlie

 Westgate’s claims against Reed for violations of the Lanham Act, 15 U.S.C. § 1125(a), et seq.,

 and violations of the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”).

         61.      Moreover, TET’s misleading and deceptive advertising campaign, which is

 orchestrated, supervised, and directed by Reed together with Hein and Parenteau, solicits owners

 of Florida timeshare interests through the use of false, misleading, and deceptive advertising on,

 inter   alia,   the   websites,   http://www.timeshareexitteam.com,           www.reedhein.com,           and

 www.321exit.com.        These websites do not constitute passive advertising. TET solicits and

 receives the contact information of owners of Florida timeshare interests through the website,

 which involves the repeated transmission of computer files over the internet and allows owners

 of Florida timeshare interests to exchange their contact information with a host computer. Reed

 designs and directs TET’s false and misleading advertising and marketing activities that cause

 Plaintiffs injury in Florida.

                                                 Hein

         62.      Personal jurisdiction over Hein is proper because Hein, along with Reed and

 Parenteau, directs and controls TET, which they formed and have used for the improper purpose

 of operating a fraudulent timeshare exit scheme, and because TET is the alter ego of Reed, Hein

 and Parenteau.

         63.      Hein uses TET as a mere instrumentality or business conduit to perpetrate a fraud

 on TET’s customers that results in significant harm to Westgate. Indeed, Hein controls and




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 dominates TET to such an extent that it has no independent existence apart from his own (and

 Reed and Parenteau). He instructs his employees to delay and confuse customers about the

 status of their timeshare “exit” to avoid making good on TET’s refund guarantee [see supra, n.

 4], while siphoning millions of dollars from the company for his own personal pecuniary gain

 and for extraordinary personal expenses [see supra, n. 5]. Hein uses TET in an attempt to

 conceal his identity as an orchestrator of a fraudulent scheme directed at timeshare companies,

 including Westgate, such that the corporate form of TET must be disregarded and individual

 liability imposed on Hein in order to prevent further losses to Westgate.

        64.     This action arises out of and is related to Hein’s purposeful contacts with the State

 of Florida resulting from TET’s activities that he directed and controlled and as an alter ego of

 TET, including (i) the solicitation of owners of Florida timeshares through the use of false and

 deceptive advertising; (ii) the intentional interference with contracts between Westgate, a Florida

 company, and owners of timeshare interests in Florida; and (iii) making false and misleading

 statements regarding Westgate through TET’s website, directed at Florida residents.

 Specifically, via postings on TET’s websites, TET purposefully directs marketing efforts to, and

 solicits, Florida residents who own timeshare interests in Westgate (including Westgate Owners

 who reside in Florida). Indeed, through false and deceptive advertisements, TET lures Westgate

 Owners to pay large upfront fees to retain TET and induce the Westgate Owners to breach

 existing contracts with Westgate.      Such false and deceptive advertisements also underlie

 Westgate’s claims against Hein for violations of the Lanham Act, 15 U.S.C. § 1125(a), et seq.,

 and violations of the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”).

        65.     Moreover, TET’s misleading and deceptive advertising campaign, which is

 orchestrated, supervised, and directed by Hein together with Reed and Parenteau, solicits owners




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 of Florida timeshare interests through the use of false, misleading, and deceptive advertising on,

 inter   alia,   the   websites,   http://www.timeshareexitteam.com,           www.reedhein.com,           and

 www.321exit.com.        These websites do not constitute passive advertising. TET solicits and

 receives the contact information of owners of Florida timeshare interests through the website,

 which involves the repeated transmission of computer files over the internet and allows owners

 of Florida timeshare interests to exchange their contact information with a host computer. Hein

 designs and directs TET’s false and misleading advertising and marketing activities that cause

 Plaintiffs injury in Florida.

                                              Parenteau

         66.     Personal jurisdiction over Parenteau is proper because Parenteau, along with

 Reed and Hein, directs and controls TET, which they formed and have used for the improper

 purpose of operating a fraudulent timeshare exit scheme, and because TET is the alter ego of

 Reed, Hein and Parenteau.

         67.     Parenteau uses TET as a mere instrumentality or business conduit to perpetrate a

 fraud on TET’s customers that results in significant harm to Westgate.                  Indeed, Parenteau

 controls and dominates TET to such an extent that it has no independent existence apart from his

 own (and Reed and Hein). He instructs his employees to delay and confuse customers about the

 status of their timeshare “exit” to avoid making good on TET’s refund guarantee [see supra, n.

 4], while siphoning millions of dollars from the company for his own personal pecuniary gain

 and for extraordinary personal expenses [see supra, n. 5]. Parenteau uses TET in an attempt to

 conceal his identity as an orchestrator of a fraudulent scheme directed at timeshare companies,

 including Westgate, such that the corporate form of TET must be disregarded and individual

 liability imposed on Parenteau in order to prevent further losses to Westgate.




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         68.     This action arises out of and is related to Parenteau’s purposeful contacts with the

 State of Florida resulting from TET’s activities that he directed and controlled and as an alter ego

 of TET, including (i) the solicitation of owners of Florida timeshares through the use of false and

 deceptive advertising; (ii) the intentional interference with contracts between Westgate, a Florida

 company, and owners of timeshare interests in Florida; and (iii) making false and misleading

 statements regarding Westgate through TET’s website, directed at Florida residents.

 Specifically, via postings on TET’s websites, TET purposefully directs marketing efforts to, and

 solicits, Florida residents who own timeshare interests in Westgate (including Westgate Owners

 who reside in Florida). Indeed, through false and deceptive advertisements, TET lures Westgate

 Owners to pay large upfront fees to retain TET and induce the Westgate Owners to breach

 existing contracts with Westgate.          Such false and deceptive advertisements also underlie

 Westgate’s claims against Parenteau for violations of the Lanham Act, 15 U.S.C. § 1125(a), et

 seq., and violations of the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”).

         69.     Moreover, TET’s misleading and deceptive advertising campaign, which is

 orchestrated, supervised, and directed by Parenteau together with Reed and Hein, solicits owners

 of Florida timeshare interests through the use of false, misleading, and deceptive advertising on,

 inter   alia,   the   websites,   http://www.timeshareexitteam.com,              www.reedhein.com,           and

 www.321exit.com.       These websites do not constitute passive advertising. TET solicits and

 receives the contact information of owners of Florida timeshare interests through the website,

 which involves the repeated transmission of computer files over the internet and allows owners

 of Florida timeshare interests to exchange their contact information with a host computer.

 Parenteau designs and directs TET’s false and misleading advertising and marketing activities

 that cause Plaintiffs injury in Florida.




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                                               VENUE

         70.    Venue is proper in the Middle District of Florida pursuant to 28 U.S.C. §1391,

 because as described above and as set forth below, a substantial part of the events giving rise to

 Plaintiffs’ claims occurred within or caused damage suffered in this District, a substantial

 number of Plaintiffs’ timeshare resort properties are located in this District, and Defendants’

 conduct giving rise to the claims set forth herein occurred in and/or caused damage to Plaintiffs

 in Orange County, Florida.

                                   GENERAL ALLEGATIONS

    A.    The Timeshare Interest

         71.    The Developer Plaintiffs are developers of timeshare resort properties throughout

 the United States, thirteen (13) of which are located in Florida with twelve (12) in this District.

 The Developer Plaintiffs’ timeshare resorts have been in operation for many years and they have

 several hundred thousand customers who have purchased and own timeshare interests at the

 Developer Plaintiffs’ various resorts.

         72.     The Association Plaintiffs are owners’ associations for the Developer Plaintiffs’

 timeshare resort properties throughout the United States. At the time owners purchase timeshares

 from the Developer Plaintiffs, the owners execute Contracts for Purchase and Sale wherein the

 owners agree to pay maintenance fees to the Association Plaintiffs for the upkeep of the

 timeshare units and common areas of the timeshare properties. In addition, the owners agree to

 pay a pro-rated share of the property taxes to the Association Plaintiffs which monies are then

 submitted by the Association Plaintiffs to the local tax collectors. Owners’ obligations to pay

 maintenance fees and taxes to the Association Plaintiffs are memorialized in Declarations of

 Covenants, Conditions, and Restrictions for each Westgate timeshare resort property that are




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 incorporated by reference in the owners’ deeds and recorded in the official records of the county

 where the timeshare resort property is located.

         73.    Many timeshare purchasers finance the purchase, and they execute and deliver a

 Promissory Note and Mortgage in connection with the timeshare purchase. Both the Promissory

 Note and Mortgage are referenced and incorporated in the Purchase Agreement with the owners.

 Developer Plaintiffs are the lender and holder of the Promissory Note and Mortgage.

    B.    Reed, Hein and Parenteau’s TET Scheme

         74.    Collectively, Defendants are engaged in a timeshare cancellation scheme which

 induces Westgate Owners to breach their Purchase Agreements with, and related mortgage and

 maintenance fee obligations to, Westgate by paying that money, and often much, much more,

 instead to TET as large, upfront fees before any services are performed or benefits rendered.

         75.    In or around December 2012, Reed and Hein formed TET for the improper

 purpose of soliciting timeshare owners using false and misleading advertising with, inter alia,

 the purpose of tortiously interfering with Plaintiffs’ existing contracts with owners of Westgate

 timeshare interests (“Westgate Owners”).

         76.    Reed and Hein are the founding members of TET. Reed currently serves as Chief

 Executive Officer of TET, and Parenteau serves as TET’s Chief Operating Officer. Even though

 Reed and Hein are the purported owners of TET, Reed and Hein together with Parenteau are the

 masterminds behind TET’s overall scheme and direct and control all of TET’s activities which

 are the subject of this lawsuit such that TET is the alter ego of Reed, Hein, and Parenteau.

         77.    Through their alter ego TET, Reed, Hein and Parenteau solicit timeshare owners,

 including identifiable Westgate Owners, to sign contracts with TET for so-called timeshare exit




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 services through in-person sales and webinars calling for large payments upfront, long before

 TET performs any services.

        78.     In order to lure timeshare owners, including Westgate Owners, to hire TET, Reed,

 Hein and Parenteau make false and misleading guarantees using a variety of advertising and

 marketing methods. Reed, Hein and Parenteau’s methods include paid endorsements by radio

 personalities and motivational speaker’s websites, advertising through radio stations across the

 country, appearing in newspaper articles (such as in the Los Angeles Times and USA Today),

 engaging in television advertising, and advertising through several websites, including:

 www.timeshareexitteam.com, www.reedhein.com, and www.321exit.com. The domain names

 www.reedhein.com         and      www.321exit.com             both        redirect       customers          to

 www.timeshareexitteam.com. Reed, Hein and Parenteau similarly utilize social media, such as

 Facebook, and other internet websites and forums to sell TET’s services to timeshare owners,

 including Westgate Owners.

        79.     Among the most notorious of TET’s paid celebrity endorsements is Dave

 Ramsey, a radio personality who advises listeners on personal and household finances. Upon

 information and belief, identifiable Westgate Owners have been lured to TET because of Mr.

 Ramsey’s radio show. In fact, Mr. Ramsey’s own website provides a link to TET’s website. 5

        80.     Through the www.timeshareexitteam.com website, Reed, Hein and Parenteau

 advertise that TET will utilize its illusory “proprietary process” to “get rid of” owners’ timeshare

 contracts “Safely. Legitimately. Forever.” As shown by TET’s “Frequently Asked Questions”

 section on its website, TET targets timeshare owners who want to terminate their timeshare

 interest for any reason, including that they simply do not want it anymore.

 5
   DaveRamsey.com, The Truth about Timeshares, https://www.daveramsey.com/blog/the-truth-
 about-timeshares (Accessed April 5, 2018).


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        81.     While the “FAQs” may enumerate legitimate individual concerns, there is nothing

 “legitimate” about this website or the sales pitch that accompanies it. Reed, Hein and Parenteau

 falsely portray that timeshare owners do not need any legally sufficient basis to terminate a

 timeshare contract or to cease making his or her payments under their legally binding contracts

 with a timeshare company.

        82.     As part of TET’s advertised “unique strategy,” Reed, Hein and Parenteau direct

 TET’s representatives to instruct owners to stop making payments on their timeshare obligations,

 such as owners’ purchase money Promissory Note and Mortgage payments owed, for instance, to

 Developer Plaintiffs, as well as maintenance and tax payments, due, for example, to Association

 Plaintiffs. Reed, Hein and Parenteau falsely assure the owners that, this way, timeshare

 companies will be more willing to allow the owners to “exit” their timeshare. Through TET,

 Reed, Hein and Parenteau further misrepresent to owners that their credit scores will not be

 affected by halting their payments. Upon information and belief, identifiable Westgate Owners

 were given these very instructions and false assurances.

        83.     TET’s misleading advertising and marketing was designed by Reed, Hein and

 Parenteau to induce Westgate Owners to breach their Purchase Agreements with Westgate. But

 Reed, Hein and Parenteau fail to inform Westgate Owners what, exactly, TET’s “exit process”

 consists of and never publicly disclose TET’s strategy. Instead, they repeatedly refer to a vague

 “exit process” that Reed, Hein and Parenteau claim is “proprietary.”

        84.     In actuality, TET’s process and strategy is nothing more than a scheme to enrich

 Reed, Hein and Parenteau at the expense of timeshare owners and timeshare companies by (a)

 falsely conveying to the public that TET can get customers out of their timeshares without a

 legitimate reason; (b) persuading timeshare owners to pay large up-front fees to TET instead of



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 paying their contractually-required obligations to timeshare companies and associations; and (c)

 preventing communications between timeshare owners and timeshare companies through letters

 sent by TET-retained attorneys, whose identities TET conceals from its customers, allowing TET

 to manipulate the flow of information to its customers, hide the fact that nothing is being done to

 accomplish their timeshare “exits,” and to confuse customers so they do not demand the

 “guaranteed” refunds of their fees – money already disbursed to benefit Reed, Hein, and

 Parenteau.

        85.     Reed, Hein and Parenteau also fail to publicly disclose the fees TET charges

 timeshare owners, including Westgate Owners. When asked about fees charged, TET’s normal

 response is to state that every case is unique and that a private consultation with TET is the only

 way to obtain a fee quote. Reed, Hein and Parenteau direct TET representatives to refuse to

 provide fee information unless a timeshare owner participates in a “free consultation” with TET.

        86.     Timeshare owners, including Westgate Owners, are thus left with only a vague

 idea as to what TET will do for them (other than TET’s general, false promise to exit their

 timeshare contract) or how TET will accomplish the purported exit. Thus, timeshare owners who

 contact TET, including Westgate owners, may not be predisposed to exit their timeshare when

 they contact TET and may only be seeking additional information that Reed, Hein and Parenteau

 refuse to publicly disclose, unless the Westgate owners submits to a misleading sales pitch

 deceptively disguised as a “free consultation.”

        87.     The fees charged by Reed, Hein and Parenteau for TET’s purported services vary,

 but are typically thousands of dollars per timeshare owner. These fees are so high that Reed,

 Hein and Parenteau offer financing plans to timeshare owners (including Westgate Owners).




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        88.     TET’s agreements with the owners who retain them are designed to protect TET

 from its own misrepresentations. Upon information and belief, identifiable Westgate Owners’

 retainer documents contain provisions that contradict the verbal instructions TET’s

 representatives give to the owners and the “guarantees” emblazoned across TET’s website. The

 following disclaimer is from a February 21, 2016, version of TET’s “Things to Remember”:

                RESORT FEES. You own the Timeshare until the closing of the
                exit is finalized, thereby relieving you of ownership; you remain
                responsible for all financial obligations associated with the
                Timeshare until the exit is complete. If you have determined of
                your own accord not to pay the resort ever again, you can expect
                some consequences that may include negative credit reporting,
                collection activity and/or legal action. In the final resolution with
                the resort, we may be able to request removal of any negative
                credit reporting with the credit bureaus. If there is a collection
                agency involved, we can assist you by requesting that the agency
                stop contacting you. However, we cannot control all of the actions
                by the resort or the collection agency. We have found that some
                resorts are quite pleasant to work with on an exit, while others are
                not. We can deal with both types for you. Our goal is to achieve
                an ultimate positive result for you.

        89.     TET’s aspiration of an “ultimate positive result” is nowhere near equivalent to its

 advertised and apparently demonstrably false “personal GUARANTEE . . . that our team of

 consumer advocates will get you out of your timeshare, period.”

        90.     Unbeknownst to the timeshare owner and undisclosed during the sales pitch, the

 “guarantee” is defined as whatever offer TET can manage to obtain from a timeshare resort,

 even one requiring full payment of all existing and future debt (so that the owner is economically

 worse off than before TET, as they have already paid TET a substantial fee). The following

 excerpt is from a November 23, 2015, TET retainer agreement:

                FEES AND COSTS. Under this Agreement there are absolutely
                no extra service fees or closing costs to be owed or paid by the
                CLIENT to REED HEIN. However, some resorts may require a
                cancellation fee or similar fee to end or exit an ownership, and



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                such fee(s) may be required in your case. These fees will be no
                greater than the amount of this current year’s maintenance fee. If
                so, the CLIENT will be required to pay that fee to the Resort for a
                successful exit. In addition, some resorts require all past
                maintenance fees to be paid upon the completion of an exit. If
                required, these past maintenance fees will be paid by the CLIENT.
                Whether accepted by OWNER or not, an exit agreement obtained
                by REED HEIN from the Resort shall meet REED HEIN’s
                Guarantee even though the Resort may require by OWNER of an
                exit fee.

        91.     But TET does not itself deal with the timeshare companies – the undisclosed,

 unidentified TET-retained attorneys are the ones who supposedly do so.                   Reed, Hein and

 Parenteau have TET hire the attorneys to execute TET’s advertised “proprietary process,” but do

 not so inform TET’s customers. These attorneys, including Hailey, Breen, and Privett, are

 retained pursuant to generic bulk representation contracts under which TET sends SGB Law and

 Privett the law firm an agreed minimum number of files each month and pays a fixed fee per file.

 TET then positions itself as the “interface” between the owners and the undisclosed unidentified

 attorneys. But the representation agreements prohibit TET from actually telling TET’s clients

 that the undisclosed unidentified attorneys actually represent them.

        92.     Another deception that Reed, Hein and Parenteau use to mislead owners is to

 compare the cost of paying the owner’s timeshare company to the fee TET is charging. One

 example showed the cost of fifteen years of maintenance fees ($21,579.00) and mortgage

 payments ($14,861.00), totaling $36,440.00 (not discounted to present value) versus TET’s fee

 of $6,395.00, but totally and deceptively concealed the upwards of thirty weeks of already paid

 for resort accommodations to which the owner is entitled. Printed over the final comparison

 figures, TET asks a simple question:

                Which of these would you rather pay?




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        93.        After signing TET’s retainer documents, owners are assigned a non-lawyer

 “Account Coordinator who becomes [their] personal contact during [the owner’s] entire exit

 process. No general 800 phone numbers or endless automated phone systems while trying to

 reach Customer Service. [The] Account Coordinator will explain how the process works and

 will provide you with status updates throughout the exit process.” In fact, however, the e-mail

 updates that identifiable Westgate Owners have received are scant, non-specific, and designed to

 string along Westgate Owners into believing that actual work is being done on their behalves,

 when it is not.

        94.        Thereafter, TET supposedly begins its “negotiation process” with the owners’

 timeshare companies. On its website, TET states that the “specifics of the process will depend

 on your ownership situation and how the resort responds to our requests.” But regardless, and

 undisclosed to the customer, no lawyer is actually involved and the customer is completely

 dependent on TET’s non-lawyer telephone operators. Nonetheless, TET promises an “exit”

 without disclosing how that is to be accomplished, and promises a full refund of its entire fee

 otherwise.

        95.        However, by Reed, Hein and Parenteau’s design, TET is not doing any work to

 negotiate anything at all and fails to notify owners of this until the owners are in arrears with the

 developer and the association. Instead, TET’s “Potemkin Village” hires law firms – here SGB

 Law and Privett Law – whose letterhead is used to send a generic “demand” letter to the

 developer, but Hailey, Breen, and Privett perform no actual “negotiations.” In exchange for

 Hailey, Breen, and Privett affixing their signatures on form demand letters, TET pays these law

 firms $1,200.00 each for a minimum of 800 files a month, which, at more than $1 million a year




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 for little or no actual legal services is a lucrative operation for law firms such as SGB Law and

 Privett Law. 6

        96.       After a year or more of having done nothing nor even trying to do something,

 TET representatives tell Identifiable Westgate Owners that the attorney retained by TET “could

 not help [the Westgate Owners] anymore.” Since the boilerplate demand letters TET sends for

 the law firms forbid them from communicating with Westgate Owners – state debt collection

 laws mandate that Westgate abide by that – the owners are not informed that TET, Hailey, Breen

 SGB Law, Privett Law, and Privett have accomplished absolutely nothing for them until the

 owners are served with Westgate’s collection or foreclosure lawsuit.

        97.       All that Reed, Hein, Parenteau and TET actually accomplish is to interfere with

 routine communications between Westgate and its Westgate Owners and cause those Westgate

 Owners to default on their payment obligations resulting in debt collection or foreclosure

 lawsuits with attendant credit reporting. Yet they nonetheless falsely claim or, worse yet,

 knowing allow owners to believe that TET has “exited” the Westgate Owners from their

 Purchase Agreements.

        C.        Hailey, Breen and SGB Law’s Furtherance of Reed, Hein and Parenteau’s
                  TET Scheme

        98.       SGB Law is hired by TET ostensibly to have Hailey and Breen “negotiate”

 timeshare owners’ exits with timeshare companies, including Westgate. This occurs once TET’s

 false and misleading advertising induces the timeshare owner to contract with TET, and after

 TET instructs its customers to breach their valid and enforceable agreements with their timeshare

 company.

 6
   In fact, Privett has sued TET for breach of one of these exclusive and profitable master fee
 agreements. See Ken B. Privett, PLC v. ReedHein & Associates, LLC d/b/a Timeshare Exit
 Team, Case No. CJ-17-20 (District Court of Pawnee County, Oklahoma).


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        99.     Hailey and Breen prepare, approve, sign, and send cookie-cutter demand letters to

 Westgate for supposed clients who have never met and are not even aware they are represented

 by SGB Law and they have never heard of, or spoke to, Hailey or Breen. SGB Law’s letters to

 Westgate say little more than TET’s customers “are interested in terminating their time share[sic]

 memberships,” and forbid any communication between Westgate and Westgate Owners “with

 the lone exception of forwarding routine billings to the client via mail.” The letters say nothing

 about the Westgate Owner’s individual circumstances but rather are “one size fits all”

 correspondence whose purpose is to silence Westgate. These letters and what follows foster

 TET’s interference with the contractual and business relationships between the Westgate Owners

 and Westgate as, through the operation of state debt collection laws, Westgate cannot talk with

 its own customers about their relationship with Westgate. Because TET isolates the Westgate

 Owner from Westgate, Westgate has no choice other than to pursue debt collection and/or

 foreclosure, with the resulting expense to Westgate.

        100.    Hailey, Breen, and SGB Law’s actions in concert with, and in furtherance of,

 TET’s scheme have caused significant damages to Westgate with substantial pecuniary gain for

 Hailey, Breen, and SGB Law.

        D.      Privett and Privett Law’s Furtherance of Reed, Hein and Parenteau’s TET
                Scheme

        101.    TET has also employed Privett and Privett Law to pursue these illusory timeshare

 owners’ exit “negotiations” with timeshare companies, including Westgate. Just as with SGB

 Law, TET contracts with Privett once its false and misleading advertising program has induced

 the timeshare owner to contract with TET, and after TET instructs its clients to breach their valid

 and enforceable agreements with their timeshare company.




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        102.    Privett prepares, approves, signs, and sends cookie-cutter demand letters to

 Westgate for supposed clients who have never met and are not even aware they are represented

 by Privett Law and they have never heard of, or spoke to, Privett. Privett Law’s letters to

 Westgate say little more than TET’s customers “are interested in terminating their time share[sic]

 memberships,” and forbid any communication between Westgate and Westgate Owners “with

 the lone exception of forwarding routine billings to the client via mail.” The letters say nothing

 about the Westgate Owner’s individual circumstances but rather are “one size fits all”

 correspondence whose purpose is to silence Westgate. These letters and what follows foster

 TET’s interference with the contractual and business relationships between the Westgate Owners

 and Westgate as, through the operation of state debt collection laws, Westgate cannot talk with

 its own customers about their relationship with Westgate. Because TET isolates the Westgate

 Owner from Westgate, Westgate has no choice other than to pursue debt collection and/or

 foreclosure, with the resulting expense to Westgate.

        103.    Privett and Privett Law’s actions in concert with, and in furtherance of, TET’s

 scheme have caused significant damages to Westgate with substantial pecuniary gain for Privett

 and Privett Law.

        E.      Defendants’ Actions Have Damaged Plaintiffs

        104.    To date, TET’s false, deceptive, and misleading advertising, conceived, controlled

 and implemented by Reed, Hein and Parenteau, has caused identifiable Westgate Owners to

 retain TET and, at TET’s instruction, (1) to stop making payments on their Promissory Notes and

 Mortgages they signed when they purchased their timeshare interests, and (2) to stop paying

 maintenance, taxes, and other fees they contractually committed to pay. TET, at the direction of

 Reed, Hein and Parenteau, intentionally and unjustifiably interfere with Plaintiffs’ contracts with




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 the Westgate Owners by inducing Westgate Owners to stop paying Plaintiffs and instead pay

 TET’s fee, by giving false assurances that there will be no harm to their credit scores and by

 guaranteeing that they will be “exited” from their timeshare “Safely. Legitimately. Forever.”

 Plaintiffs are damaged because TET’s entire business model is premised on drawing customers

 away from Plaintiffs. But for TET’s scheme, conceived, implemented and controlled by Reed,

 Hein and Parenteau, Westgate would not suffer such damages.

          105.    Hailey, Breen, SGB Law, Privett, and Privett Law further TET’s scheme, as

 described above. Defendants engaged in this arrangement together for their collective pecuniary

 gain.

          106.    All conditions precedent to the filing of this action have been satisfied, waived, or

 have occurred.

          107.    Plaintiffs have retained the law firm of Greenspoon Marder LLP to represent them

 in this action and are obligated to pay Greenspoon Marder LLP’s reasonable attorneys’ fees and

 costs.

          COUNT I: TORTIOUS INTERFERENCE WITH EXISTING CONTRACTS
                   (Against Defendants TET, Reed, Hein, and Parenteau)

          108.    Plaintiffs reallege and reincorporate the allegations contained in paragraphs 1

 through 9, paragraphs 71 through 97, and paragraphs 104 through 107 above as if more fully set

 forth herein.

          109.    This is a cause of action for tortious interference with existing contracts and for

 injunctive relief and damages in excess of $75,000.00.

          110.    Plaintiffs hold valid and legally enforceable contracts with Westgate Owners for

 their timeshare units.




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        111.    TET, Reed, Hein and Parenteau (the “TET Defendants”) have knowledge of those

 relationships. The very fact that the Westgate Owners have contracts with Plaintiffs is the basis

 under which the TET Defendants sought to establish a relationship with the Westgate Owners.

        112.    The TET Defendants sought to capitalize on Plaintiffs’ contractual relationships

 with the Westgate Owners by soliciting the Westgate Owners through TET’s false and

 misleading advertising, inducing them to pay large upfront fees to TET, and inducing them to

 stop making payments to Plaintiffs or to otherwise breach their contracts with Plaintiffs,

 notwithstanding the Westgate Owners’ legally enforceable contracts with Plaintiffs. The TET

 Defendants do this to divert money contractually owed to Westgate to TET instead.

        113.    The TET Defendants’ false and misleading advertising used to induce Westgate

 Owners to breach their contractual relationships with Westgate include deceptive website

 advertisements and celebrity endorsements. The TET Defendants also induce Westgate owners

 to stop making their payments to Westgate or to otherwise breach their contracts with Westgate

 in numerous other ways, including stating and suggesting that no valid grounds are needed to

 cancel a contract or that owners can cancel any contract, making false promises of achieving a

 favorable timeshare exit, and even by falsely informing owners that they no longer owe Westgate

 any legal or financial obligations.

        114.    The TET Defendants’ willful actions to induce parties with whom Plaintiffs have

 valid contractual agreements to breach their agreements constitute intentional interference with

 existing contracts.

        115.    The TET Defendants have intentionally, and without justification or privilege,

 interfered with Plaintiffs’ existing contracts by inducing Westgate Owners to immediately stop

 making any further payments under their contracts without any legal basis.




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        116.    The TET Defendants’ actions were not made in good faith, but rather were made

 with purely selfish and mercenary reasons so as to collect and retain the large pre-paid retainer

 fee without actually providing any meaningful services to the Westgate Owners and were with

 the knowledge and purpose to injure Plaintiffs or with reckless disregard for the attendant

 consequences resulting from the TET Defendants’ actions and without reasonable grounds for

 TET Defendants to believe that its actions were justified and proper.

        117.    As a direct and proximate result of the TET Defendants’ intentional misconduct,

 Westgate Owners have terminated, or have sought to terminate, their contractual relationship

 with Plaintiffs before the expiration of the terms of those contracts.

        118.    The TET Defendants did not have any justification or privilege in procuring the

 breach of such contracts.

        119.    As a direct and proximate result of the foregoing, Plaintiffs suffered damages.

        120.    An injunction is a viable form of relief in a suit for tortious interference.

                a)      As parties to legitimate and enforceable agreements with Westgate

 Owners, Plaintiffs have a clear legal right or interest in such contracts with Westgate Owners.

                b)      As set forth in part above, the TET Defendants have procured unwarranted

 and unjustified contract breaches, so Plaintiffs have a substantial likelihood of success on merits.

                c)      The TET Defendants continue to solicit timeshare owners, such as

 Westgate Owners, through the described misleading and deceptively false marketing, which

 shows a strong likelihood that Plaintiffs will continue to suffer irreparable harm on an ongoing

 basis because any remedy at law for the TET Defendants’ perpetuation of the deceptive,

 fraudulent, and unfair marketing practices is inadequate.




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                 d)     An injunction serves the public interest because, inter alia, an injunction

 would serve to protect timeshare owners as consumers and the fair and legitimate operation of

 the timeshare industry.

        121.     As a proximate result of TET’s unlawful conduct, Plaintiffs are being irreparably

 harmed and are entitled to have the TET Defendants’ conduct enjoined and restrained.

      WHEREFORE, Plaintiffs respectfully demand judgment in their favor and against

 Defendants REED HEIN & ASSOCIATES, LLC d/b/a TIMESHARE EXIT TEAM,

 BRANDON REED, TREVOR HEIN, and THOMAS PARENTEAU and request temporary and

 permanent injunctive relief, compensatory damages, special damages, lost profits, punitive

 damages, costs, and such other and further relief as the Court may deem proper.

                COUNT II VIOLATION OF FLORIDA’S DECEPTIVE
          AND UNFAIR TRADE PRACTICES ACT, FLA. STAT. § 501.201, et seq.
                 (Against Defendants TET, Reed, Hein, and Parenteau)

        122.     Plaintiffs reallege and reincorporate the allegations contained in paragraphs 1

 through 9, paragraphs 71 through 97, and paragraphs 104 through 107 above as if more fully set

 forth herein.

        123.     This is a cause of action for actual damages and injunctive relief for violations of

 the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. § 501.201, et seq. (“FDUTPA”),

 against TET, Reed, Hein, and Parenteau (the “TET Defendants”), including unconscionable acts

 and practices and unfair and deceptive practices in the conduct of trade or commerce.

        124.     The TET Defendants is engaged in “trade or commerce” as defined by Fla. Stat.

 §501.203(8).

        125.     Plaintiffs are “interested part[ies] or person[s]” as defined by Section 501.203(6),

 Florida Statutes.




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        126.    The TET Defendants have engaged in unconscionable, unfair, and deceptive acts

 or practices, including but not limited to:

                a)      soliciting Westgate Owners through false and misleading advertising and

                        marketing materials which deceives Westgate Owners into believing that

                        they may cancel their timeshare interest without any legal basis or reason

                        whatsoever;

                b)      fraudulently inducing Westgate Owners into retaining TET based on

                        TET’s advertised “100% guarantees” of “exiting” timeshares when the

                        TET Defendants cannot actually fulfill the guarantee without detriment to

                        the Westgate Owners;

                c)      misrepresenting that they will “interface” between the Westgate Owners

                        and law firms such as SGB Law and Privett Law without providing the

                        Westgate Owners details about the attorneys or actually facilitating

                        contact between them, and when the Westgate Owners often never

                        communicate with Hailer, Breen, Privett or any other lawyers at those law

                        firms; and

                d)      instructing Hailey, Breen, and Privett to transmit demand letters on the

                        letterhead of SGB Law and Privett Law to Westgate attempting to

                        terminate the Westgate Owners’ contracts on without any investigation

                        into the circumstances of any individual owner’s situation and without

                        knowledge as to any legal basis to do so;

                e)      Providing knowingly false status updates to customers, including

                        iodentifiable Westgate owners;




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                f)      Using and allowing vendors and attorneys to use unlawful and invalid

                        methods or strategies to cancel timeshare contracts;

                g)      Falsely informing owners they had no legal or financial obligations to

                        Westgate after unlawful and invalid methods or strategies were used to

                        attempt to cancel timeshare contracts; and

                h)      Failing to disclose risks of methods and strategies to be used to timeshare

                        owners.

        127.    As a direct and proximate result of the TET Defendants’ deceptive and unfair

 trade practices, Plaintiffs have suffered actual damages.

        128.    Plaintiffs have a clear legal right or interest in being free from the TET

 Defendants’ deceptive or unfair advertising, as the false statements and representations set forth

 above have caused specific past and present grievances, and will result in future grievances if the

 TET Defendants are not enjoined.

        129.    The TET Defendants continue to engage in such false and deceptive marketing

 campaigns and fraudulent representations for the purpose of soliciting the Westgate Owners and

 inducing them to pay large upfront retainer fees with the false representation that the Westgate

 Owners may unilaterally terminate their obligations with Plaintiffs without any valid legal basis,

 and therefore, there is a strong likelihood that Plaintiffs will suffer irreparable harm on an

 ongoing basis and any remedy at law for the TET Defendants’ perpetuation of the deceptive,

 fraudulent, and unfair marketing practices, is inadequate.

        130.    Pursuant to Fla. Stat. § 501.211(1), declaratory and injunctive relief are viable

 forms of relief for violations of FDUTPA in this case because:




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                a)     The TET Defendants’ actions, as outlined above, constitute deceptive,

 misleading, and unfair practices in violation of FDUTPA.

                b)     The TET Defendants have procured unwarranted and unjustified contract

 breaches due to the TET Defendants’ deceptive, misleading, and unfair practices in violation of

 FDUTPA, so Plaintiffs have a substantial likelihood of success on merits.

                c)     The TET Defendants continue to solicit timeshare owners, such as

 Westgate Owners, through the TET Defendants’ deceptive, misleading, and unfair practices in

 violation of FDUTPA, which shows a strong likelihood that Plaintiffs will suffer irreparable

 harm on an ongoing basis because any remedy at law for the TET Defendants’ perpetuation of

 TET’s deceptive, misleading, and unfair practices in violation of FDUTPA is inadequate.

                d)     An injunction would serve the public interest because, inter alia, an

 injunction would protect timeshare owners as consumers and the fair and legitimate operation of

 the timeshare industry.

        131.    As a direct and proximate result of the TET Defendants’ unlawful conduct,

 Plaintiffs are being irreparably harmed and are entitled to have the TET Defendants’ conduct

 enjoined and restrained.

      WHEREFORE, Plaintiffs respectfully demand judgment in their favor and against

 Defendants REED HEIN & ASSOCIATES, LLC d/b/a TIMESHARE EXIT TEAM,

 BRANDON REED, TREVOR HEIN, and THOMAS PARENTEAU and request temporary and

 permanent injunctive relief, actual damages, punitive damages upon a showing of sufficient

 evidence of fraud, attorney’s fees and costs incurred in this action and in any appeal pursuant to

 Fla. Stat., §501.2105, and such other and further relief as the Court may deem proper.




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                            COUNT III: CIVIL CONSPIRACY
       (Against Defendants TET, Reed, Hein, Parenteau, SGB Law, Hailey, and Breen)

        132.     Plaintiffs reallege and reincorporate the allegations contained in paragraphs 1

 through 9, paragraphs 71 through 100, and paragraphs 104 through 107 above as if more fully set

 forth herein.

        133.     This is a cause of action for civil conspiracy to commit tortious interference with

 existing contracts seeking injunctive relief and damages in excess of $75,000.00.

        134.     TET, Reed, Hein, Parenteau, SGB Law, Hailey, and Breen are parties to a civil

 conspiracy as they conspired to commit an unlawful act by interfering with Plaintiffs’ existing

 contracts with the Westgate Owners using unlawful means.

        135.     TET, Reed, Hein, Parenteau, SGB Law, Hailey, and Breen each performed one or

 more overt actions in furtherance of their conspiracy, including without limitation:

                 a.     TET, Reed, Hein, and Parenteau use misleading advertising to lure

                        Westgate Owners to obtain TET’s services;

                 b.     TET, Reed, Hein, Parenteau, SGB Law, Hailey, and Breen directly and

                        indirectly instruct and encourage Westgate Owners to stop paying their

                        obligations to Westgate or to otherwise breach their contracts with

                        Westgate without any investigation into the circumstances of any

                        individual owner’s situation and without knowledge of any legal basis to

                        do so;

                 c.     This is done to convince the Westgate owners to pay TET instead of

                        Westgate, and so that TET can pay SGB;

                 d.     At TET, Reed, Hein, and Parenteau’s direction and pursuant to their

                        agreement, Hailey, Breen, and SGB Law send boilerplate demand letters



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                        to Plaintiffs prepared, approved, and signed by Hailey and Breen and

                        placed on SGB Law’s letterhead, stating non-legal bases upon which

                        Westgate Owners can purportedly cancel their Purchase Agreements, and

                        effectively cut off communication between Westgate and the owners, all

                        in furtherance of TET, Reed, Hein, and Parenteau’s interference between

                        the Westgate Owners and Westgate.

        136.    Reed, Hein, and Parenteau direct and control TET and are alter egos of TET,

 which they formed and have used for the improper purpose of operating a fraudulent timeshare

 exit scheme. Each of them separately and individually performed one or more overt actions in

 furtherance of their conspiracy with TET, SGB Law, Hailey and Breen, and each of them has a

 personal stake in the conspiracy to personally enrich themselves that is separate and distinct from

 TET’s interest in the conspiracy.

        137.    As a direct and proximate result of TET, Reed, Hein, Parenteau, SGB Law,

 Hailey, and Breen’s civil conspiracy, the Westgate Owners have terminated, or have sought to

 terminate, their contractual relationship with Plaintiffs before the expiration of the terms of those

 contracts.

        138.    TET, Reed, Hein, Parenteau, SGB Law, Hailey, and Breen did not have any

 justification or privilege in procuring the breach of such contracts.

        139.    As a direct and proximate result of the foregoing, Plaintiffs suffered damages.

        140.    An injunction is a viable form of relief for a cause of action for civil conspiracy to

 commit tortious interference with existing contracts.




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               a.     TET, Reed, Hein, Parenteau, SGB Law, Hailey, and Breen’s actions, as

                      outlined above, constitute a civil conspiracy to commit tortious

                      interference with existing contracts.

               b.     TET, Reed, Hein, Parenteau, SGB Law, Hailey, and Breen have procured

                      unwarranted and unjustified contract breaches due to their civil conspiracy

                      to commit tortious interference with existing contracts, so Plaintiffs have a

                      substantial likelihood of success on merits.

               c.     TET, Reed, Hein, Parenteau, SGB Law, Hailey, and Breen continue to

                      solicit timeshare owners, such as Westgate Owners, through their civil

                      conspiracy to commit tortious interference with existing contracts, which

                      shows a strong likelihood that Plaintiffs will suffer irreparable harm on an

                      ongoing basis because any remedy at law for TET, SGB Law, Hailey, and

                      Breen’s perpetuation of their civil conspiracy is inadequate.

               d.     An injunction serves the public interest because, inter alia, an injunction

                      would serve to protect timeshare owners as consumers and the fair and

                      legitimate operation of the timeshare industry.

        141.   As a proximate result of TET, Reed, Hein, Parenteau, SGB Law, Hailey, and

 Breen’s unlawful conduct, Plaintiffs are being irreparably harmed and are entitled to have TET,

 Reed, Hein, Parenteau, SGB Law, Hailey, and Breen’s conduct enjoined and restrained.

        WHEREFORE, Plaintiffs respectfully demand judgment in their favor and against

 Defendants REED HEIN & ASSOCIATES, LLC d/b/a TIMESHARE EXIT TEAM,

 BRANDON REED, TREVOR HEIN, THOMAS PARENTEAU, SCHROETER GOLDMARK

 & BENDER, P.S., JAMES D. HAILEY, and THOMAS JAMES BREEN, and request temporary




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 and permanent injunctive relief, compensatory damages, special damages, lost profits, punitive

 damages, costs, and such other and further relief as the Court may deem proper.


                           COUNT IV: CIVIL CONSPIRACY
         (Against Defendants TET, Reed, Hein, Parenteau, Privett Law, and Privett)

        142.     Plaintiffs reallege and reincorporate the allegations contained in paragraphs 1

 through 9, paragraphs 71 through 97, and paragraphs 101 through 107 above as if more fully set

 forth herein.

        143.     This is a cause of action for civil conspiracy to commit tortious interference with

 existing contracts seeking injunctive relief and damages in excess of $75,000.00.

        144.     TET, Reed, Hein, Parenteau, Privett Law, and Privett are parties to a civil

 conspiracy as they conspired to commit an unlawful act by interfering with Plaintiffs’ existing

 contracts with the Westgate Owners, using unlawful means.

        145.     TET, Reed, Hein, Parenteau, Privett Law, and Privett each performed one or more

 overt actions in furtherance of their conspiracy, including without limitation:

                 a.     TET, Reed, Hein, and Parenteau use false and misleading advertising to

                        lure Westgate Owners to obtain TET’s services;

                 b.     TET, Reed, Hein, Parenteau, Privett Law, and Privett directly and

                        indirectly instruct and encourage Westgate Owners to stop paying their

                        obligations to Westgate or to otherwise breach their contracts with

                        Westgate without any investigation into the circumstances of any

                        individual owner’s situation and without knowledge of any legal basis to

                        do so;




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                c.      This is done to convince the Westgate owners to pay TET instead of

                        Westgate, and so that TET can pay Privett Law;

                d.      At TET, Reed, Hein, and Parenteau’s direction and pursuant to their

                        agreement, Privett Law and Privett send boilerplate demand letters to

                        Plaintiffs, prepared, approved, and signed by Privett and placed on Privett

                        Law’s letterhead, stating non-legal bases upon which Westgate Owners

                        can purportedly cancel their Purchase Agreements, and effectively cuts off

                        communication between Westgate and the owners, all in furtherance of

                        TET, Reed, Hein, and Parenteau’s interference between the Westgate

                        Owners and Westgate.

        146.    Reed, Hein, and Parenteau direct and control TET and are alter egos of TET,

 which they formed and have used for the improper purpose of operating a fraudulent timeshare

 exit scheme. Each of them separately and individually performed one or more overt actions in

 furtherance of their conspiracy with TET, Privett Law, and Privett and each of them has a

 personal stake in the conspiracy to personally enrich themselves that is separate and distinct from

 TET’s interest in the conspiracy.

        147.    As a direct and proximate result of TET, Reed, Hein, Parenteau, Privett Law, and

 Privett’s civil conspiracy, the Westgate Owners have terminated, or have sought to terminate,

 their contractual relationship with Plaintiffs before the expiration of the terms of those contracts.

        148.    TET, Reed, Hein, Parenteau, Privett Law, and Privett did not have any

 justification or privilege in procuring the breach of such contracts.

        149.    As a direct and proximate result of the foregoing, Plaintiffs suffered damages.




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        150.    An injunction is a viable form of relief for a cause of action for civil conspiracy to

 commit tortious interference with existing contracts.

                a.     TET, Reed, Hein, Parenteau, Privett Law, and Privett’s actions, as outlined

                       above, constitute a civil conspiracy to commit tortious interference with

                       existing contracts.

                b.     TET, Reed, Hein, Parenteau, Privett Law, and Privett have procured

                       unwarranted and unjustified contract breaches due to their civil conspiracy

                       to commit tortious interference with existing contracts, so Plaintiffs have a

                       substantial likelihood of success on merits.

                c.     TET, Reed, Hein, Parenteau, Privett Law, and Privett continue to solicit

                       timeshare owners, such as Westgate Owners, through their civil

                       conspiracy to commit tortious interference with existing contracts, which

                       shows a strong likelihood that Plaintiffs will suffer irreparable harm on an

                       ongoing basis because any remedy at law for TET, Privett Law, and

                       Privett’s perpetuation of their civil conspiracy is inadequate.

                d.     An injunction serves the public interest because, inter alia, an injunction

                       would serve to protect timeshare owners as consumers and the fair and

                       legitimate operation of the timeshare industry.

        151.    As a proximate result of TET, Reed, Hein, Parenteau, Privett Law, and Privett’s

 unlawful conduct, Plaintiffs are being irreparably harmed and are entitled to have TET, Reed,

 Hein, Parenteau, Privett Law, and Privett’s conduct enjoined and restrained.

        WHEREFORE, Plaintiffs respectfully demand judgment in their favor and against

 Defendants REED HEIN & ASSOCIATES, LLC d/b/a TIMESHARE EXIT TEAM,




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 BRANDON REED, TREVOR HEIN, THOMAS PARENTEAU, KEN B. PRIVETT PLC, and

 KEN B. PRIVETT, and request temporary and permanent injunctive relief, compensatory

 damages, special damages, lost profits, punitive damages, costs, and such other and further relief

 as the Court may deem proper.

                              COUNT V: FALSE ADVERTISING
                       UNDER THE LANHAM ACT, 15 U.S.C. § 1125(a)
                      (Against Defendant TET, Reed, Hein, and Parenteau)

        152.     Plaintiffs reallege and reincorporate the allegations contained in paragraphs 1

 through 9, paragraphs 71 through 97, and paragraphs 104 through 107 above as if more fully set

 forth herein.

        153.     This is a cause of action for false advertising and unfair competition under the

 Lanham Act, 15 U.S.C. § 1125(a).

        154.     Plaintiffs are engaged in commerce within the control of Congress because they

 have a cognizable commercial interest in reputation or sales and fall within the zone of interest

 protected by 15 U.S.C. § 1125(a).

        155.     As outlined above, TET, Reed, Hein, and Parenteau (the “TET Defendants”) have

 made material false or misleading statements in interstate commerce in connection with

 commercial advertising or solicitation regarding its “timeshare exit” services.

        156.     The TET Defendants purposefully insert themselves into the same marketplace in

 which Plaintiffs operate – the timeshare industry consisting of existing and prospective timeshare

 owners. The TET Defendants’ false advertising is directed both to Plaintiffs’ existing client base

 and to prospective owners.

        157.     In making false and misleading representations in their advertisements about their

 timeshare exit services, the TET Defendants are in direct competition with Plaintiffs for the




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 payments Westgate Owners and specifically seek out Westgate Owners to persuade them make

 payments to TET instead of to Plaintiffs.

        158.    The TET Defendants have has solicited Westgate Owners through false and

 misleading advertising and marketing materials to induce Westgate Owners to cancel their

 timeshare interest without any factual or legal basis and stop making payments to Plaintiffs even

 though such payments are required by legally enforceable contracts to which the timeshare

 owners have no legal excuse or justification not to pay.

        159.    The TET Defendants thus advertise to Plaintiffs’ existing client base in order to

 persuade them to do business with TET instead of with Plaintiffs, and to withhold trade and

 divert monies due and owing to Plaintiffs under the Westgate Owners’ contractual obligations

 instead to TET. Westgate Owners are falsely told about TET’s vague “exit process” that the

 TET Defendants claims is “proprietary” and offers a misleading “personal GUARANTEE . . .

 that our team of consumer advocates will get you out of your timeshare, period,” when the TET

 Defendants know there is no legitimate basis for cancellation, no proprietary exit process, and no

 actual guarantee. As a result of the TET Defendants’ misrepresentations, Westgate Owners are

 deceived into believing that they should pay TET to obtain an illusory result rather than make

 payments to Plaintiffs as they are obligated to do by the very contracts that the TET Defendants

 falsely claim they can easily unwind.

        160.    The TET Defendants also make false and misleading comparisons between the

 cost of owning a timeshare and the cost of using TET’s services in its printed advertisements sent

 to timeshare owners as means of persuading owners to retain them and breach their valid

 contracts with Plaintiffs.




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          161.   The TET Defendants’ statements that any person can be exited from or have a

 timeshare contract cancelled, regardless of the reason, are false and misleading or made in bad

 faith.

          162.   The TET Defendants’ statements that they have a proprietary process for

 accomplishing an exit from a timeshare contract are false and misleading or made in bad faith.

          163.   The TET Defendants’ statements that they offer safe, legal, and permanent exists

 or cancellations of timeshare contracts are false and misleading or made in bad faith.

          164.   The TET Defendants’ statements are not only literally false, but also are

 misleading when considered in their full context.

          165.   Additionally, the TET Defendants’ statement that it guarantees it will relieve

 timeshare owners of their timeshare obligations if TET is retained are false or misleading or

 made in bad faith.

          166.   The TET Defendants deceived, or had the capacity to deceive, consumers, thereby

 having a material effect on consumers’ purchasing decisions and resulting in damages to

 Plaintiffs.

          167.   Plaintiffs suffered an injury to their commercial interests based on the TET

 Defendants’ misrepresentations, and materially false and deceptive statements.

          168.   An injunction is a viable form of relief for violation of the Lanham Act.

                 a.     The TET Defendants actions, as outlined above, constitute false

                        advertising in violation of 15 U.S.C. § 1125(a).

                 b.     The TET Defendants have procured unwarranted and unjustified contract

                        breaches due to their false advertising in violation of 15 U.S.C. § 1125(a),

                        so Plaintiffs have a substantial likelihood of success on merits.




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                c.      The TET Defendants continue to solicit timeshare owners, such as

                        Westgate Owners, through their false advertising, which shows a strong

                        likelihood that Plaintiffs will suffer irreparable harm on an ongoing basis

                        because any remedy at law for the TET Defendants’ perpetuation of their

                        false advertising is inadequate.

                d.      An injunction serves the public interest because, inter alia, an injunction

                        would serve to protect timeshare owners as consumers and the fair and

                        legitimate operation of the timeshare industry.

        169.    As a proximate result of the TET Defendants’ unlawful conduct, Plaintiffs are

 being irreparably harmed and are entitled to have the TET Defendants’ conduct enjoined and

 restrained.

        WHEREFORE, Plaintiffs respectfully demand judgment in their favor and against

 Defendants REED HEIN & ASSOCIATES, LLC d/b/a TIMESHARE EXIT TEAM,

 BRANDON REED, TREVOR HEIN, and THOMAS PARENTEAU and request temporary and

 permanent injunctive relief, compensatory damages, special damages, lost profits, punitive

 damages, costs and attorneys’ fees pursuant to 15 U.S.C. §1117, and such other and further relief

 as the Court may deem proper.

                                  DEMAND FOR JURY TRIAL

        Plaintiffs demand a trial by jury to all issues so triable.

        DATED 16th day of November, 2018.

                                                          Respectfully submitted,

                                                By: /s/ Brian R. Cummings
                                                        RICHARD W. EPSTEIN
                                                        (Trial Counsel)
                                                        Florida Bar No. 229091



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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 16, 2018, the foregoing Initial Disclosures was

 served via email on counsel for all parties of record noted in the Service List below.

                                                         /s/ Brian R. Cummings

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